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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

MARY BOYLE, et al.,                 *
                                    *
              Plaintiffs,           *
                                    *     Civ. No.: MJM-25-1628
v.                                  *
                                    *
DONALD J. TRUMP, et al.,            *
                                    *
              Defendants.           *
                                    *
                          * * * * * * * * * *

                                               ORDER

          As discussed during the scheduling conference call on May 22, 2025, it is hereby

          ORDERED that a hearing on the plaintiffs’ Motion for a Temporary Restraining Order is

scheduled for Tuesday, May 27, 2025, at 12:00 p.m. in Courtroom 5C; and it is further

          ORDERED that the defendants’ response to the Motion for a Preliminary Injunction shall

be filed no later than May 29, 2025; and it is further

          ORDERED that the plaintiffs’ reply shall be filed no later than June 3, 2025; and it is

further

          ORDERED that any further hearing on the Motion for a Preliminary Injunction is

tentatively scheduled for Friday, June 6, 2025, at 11:30 a.m. in Courtroom 5C.



DATE: 5/23/25                                            ___________/S/_________________
                                                         Matthew J. Maddox
                                                         United States District Judge
